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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                        Criminal No. 20-49 (NEB/I(MM)

UNITED STATES OF AMERICA,

                      Plaintiff,                  PLEA AGREEMENT AND
                                                  SENTENCING
  'v.                                             STIPULATIONS
                                                  PURSUANT TO
GARY ROBERT DRAKE.                                RULE 11(c)(1)(C)

                      Defendant.

         The United States of America and Gary Robert Drake Qrereinafter

referred. to as the "Defendant") agree to resolve this case on the terms and

conditions that follow. This plea agreemeirt binds only Defendant and the

United States Attorney's Office for the District of Minnesota.. This agre.ement

d.oes   not bind any other United. States Attorney's Offi.ce or any other federal or

state agency.

         The parties agree that the plea agreement reached pursuant to Rule

                                    facts urrd .i".rrmstances as to this particular

Defendant and the criminal offense         at issue.   Specifi.cally, the terms and

bond.itions herein are based on consid.eration         of (1) the fifteen months of

incarceration in Minnesota Department of Corrections that Defendant has

alread"y served arising from       the same offense cond.uct; (2) the advisory
Guidelines as applied to Defendant's conduct; (3) Defendant's willingness to



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                                                                      U,S. DISTRICT COUH]"€T, PAUL
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pay restitution to all victims of his offense; and (4) Defendant's willingness to

agree to 15 years ofsupervision.

        1.    Charges. Defendant agrees to enter a plea of guilty to Counts      1


and 2 of the Information, which charge him w.ith Importation                    or

Transportation of Obscene Matters in'violation          of 18 U.S.C. S.1462. In
exchange for the Defend.ant's guilty plea to the counts    in the Information, the

government    will   agree to move to dismiss the counts   in the Indictment (Case

No. 20-CR-49) against the Defendant at sentencing. In.exchange for the
         -t
Defendarit's guilty plea, the government further agrees not to charge him     *ith
receipt of child pornography.

        2.    Factual Basis. The parties agree on the following factual basis

for the plea. The Defendant agrees that were this matter to go to trial, the

.,United States would prove the following facts beyond a reasonable doubt:

              a. On or around November 27, 2018, the Defendant's probation
   .;              g!fiy   conducted r_a1dom           on the Defendant's phone.
                                      1        -search
                   Ihat search revealed that the Defendant's email account had
                   been accessed by two other computer devices, one of which was
                   not registered with the probation office. After searching the
                   Defendant's homei, agents found two'computers and took them
                   for forensic evaluation.

              b.   The forensic evaluation identifi.ed evidence that Defendant had
                   used his computers to access and view child pornography.-The
   '               files at issue in the Government's case were found either in the
                   recycle bin or as orphaned fiIes (reflecting that Defendant had
                   deleted them.) However, Defendant admits and agrees that he
                   used'his computers and the Internet to search for and access
                   child pornography.
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    c. Specific    to Counts 1 and 2 bf the Information, Defendant agrees
         that:

            i.    On or about May 9, 2018, Defendant knowingly used an
                  interactive computer service, namely, an Internet service
                  transporting materials in interstate and foreign
                  commerce, to receive obscene material, including: an
                  electronic image [redacted fiIe name l].jpg, depicting a
                ^ prepubescent girl with her pants down squatting on a
                  toilet and urinating. The image was confirmed to be part
                  of an identified child pornography series known to the
                  National Center for Missing and Exploitef Children.

           ii.   On or around November 24,201,8, Defendant knowingly
                 used an interactive computer service, namely, an
                 Internet service transporting materials in interstate and
            '    foreign commerce, to receive obscene material, including:
                 an electronic image [redacted file name 1].jpg, depicting
                 a naked prepubescent girl lying down with her legs
                 spread exposing her genitalia to the camera. The girl's
                 genitalia is the main focus of the image. The image was
                 confirmed to be part of an identified child pornography
                 series known to the National Center for Missing and
                 E:ploited Children.

    d. Defend,ant'sprobation was revolied on Novem  bet 27,2018, and
         he was placed in custody with'the Minnesota Department of
         Corrections, where he remained until March of 2020 when he
         was transferred to federal   custody..    ,




    e.   Relevant Conduct: In addition to the image fiIes listed above,
         the Defendant admits. and agrees that at the time his devices
         were searched, he was in possession of additional child
         pornography and child erotica. In particular, the Defendant
         admits and agrees that one of his computers had approximately
         90 images of suspected child pornography, and his other
         computer had images of children that may not meet the federal
         definition of child pornography. The Defendant also agrees that
         evidence was found on his devices that he had used search
         queries for {'preteen models," "teen footjob," "asstr forced
         nudity," "vlad model," "Iolita models," and "preteen models,"
         "young naked girls," and "young girls fucking" to access and
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                  obtain other obscene matters, including sexually-explicit
                  images of minor that constitute child pornography.

      3.    Waiver of Pretrial Motions. Defendant understands and agrees

he has certain rights to file pretrial motions in this case. As part of this plea

agreement, and based upon the concessions of the United States contained

herein, Defendant knowingly, willingly, and voluntarily gives up the right to

further litigate pre-trial motions and withdraws any motions _ currently
pending before the Court.

      4.    Statutory Penalties. The parties           agree that Defendant is subject

to the following statutory penalties for violating 18 U.S.C. $ 1462:

            a. up to 5 years' imprisonment for the first offense and up to         10
                 years' imprisonment for each offense thereafter;

            b. a supervised release term of at least three years up to               a
                  maximum supervised release term of life;
                 'a
            c.        fi.ne of up to $250,000 per count;

            d . a mandatory special assessment of $100 per count; and

            e. restitution.

      5. Revocation of Supervised Release. The                             Defendant

understands      that if he violates any condition of supervised release, the
Defendant could be sentenced to an additional term of imprisonment up to the

length of the original supervised release term, subject to the statutory

maximums set forth in 18 U.S.C.         S   3583(k).



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      6. Guitleline Calculations.            The parties acknowledge that the

Defendant wiII be sentenced       in   accordance   with 18 U.S.C. $ 3551, et   seq.

Nothing in this plea agreement should be construed to limit the parties from

presenting any and aII r'elevant evidence to the Court at sentencing. The

parties also acknowledge that the Court will consider the United States

Sentencing Guid.elines in determining tfr" rppropriate sentence and stipulate

to the following guideline calculations:

            a.    Base Offense Level. The parties agree that the base offense
                  level for transportation of obscene matters is 10, but that
                  where the transportation includes materials involving the
                  sexual exploitation of minors, U.S.S.G. S 2G2.2(a)(1) applies
                  and the base offense level is 18. (U.S.S.G..SS 2G3.1(c),
                  2G2.2(a)(1)).

            b.    Specific Offense Characteristics. The parties agree tfrat ttre
                  offense level should be increased by 2 levels because the
                  material involved prepubescent minoics (U.S.S.G.                S
                  2G2.2b)(D); a levels because the offense involved materials
                  that portray sadistic or masochistic conduct or other
                  depictions of violence (u.S.S.G. S 2G2.2&)(+)); 2 levels
                  because the offense involved the use of a computer and an
                  interactive computer service (u.S.S.G. S 2G2.2(b)(6)); and 2
                  levels because the offense involved more than 10 b.ut fewer
                  than 150 images (J.S.S.G. S 2G2.2b)(7XA)).'
            c.    Acceptance of Responsibility. The government agrees to
                  recommend that Defendant receive a 3-level reduction for
                  acceptance of responsibility and to make any appropriate
                  motions with the Court. However, the Defendant
                  understands and agrees that this recommendation is
                  conditioned upon the following: (i) the Defendant testifies
                  truthfully during the change of plea and sentencing
                  hearings, (ii) the Defendant cooperates with the Probation
                  Offi.ce in the pre-sentence investigation, includ.ing disclosure
                  of truthful and accurate financial information to the
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                  Probation Office, and (iii) the Defendant commits no further
                  acts inconsistent with acceptance of resflonsibility.
                  (U.S.S.G. S 3E1.1(a) and (b)). The parties agree that no other
                  Chapter 3 adjustments apply.

             d                                  ffi:*lif'-*T'na#i*,1:
                  criminal history cS.tegory is III. This does not constitute a
                  stipulation, but a belief based on an assessment of the
                  information currently known. Defendant's actual criminal
                  history and related status will be determined. by the Court
                  based on the information presented in the Presentence
                  Report and by the parties at the time of sentencing. The
                  Defendant understands that if the presentence investigation
                  reveals any prior adult or juvenile sentence which should be
                  included within his criminal history under the U.S.
                  Sentencing Guidelines, he will be sentenced based on his
                  true criminal history category, and he will not be permitted
                  to withdraw from this PIea Agreement. O.S.S.G. $ 4A1.1).

             e. Guideline Ranse. If the adjusted offense level is 25, and the
             r . ."i-i".l hi.t"ry category is III, the Sentencing Guid.elines
                  range is 70-87 months of imprisonment.

             f.   Fine Ranee. If the adjusted offense level is 25, the fine range
                  is $20,000 to $200,000. (U.S.S.G. S 581.2(c)(3)).

             s ffi.,3;?;fi:'il-#:*"I*ffi"ffi: ;
                  Iife term if a term of imprisonment of more than one year is
                  imposed. ([.S.S.G. SS 5D1.2(a)(1) and 5D1.2(b)(2);18 U.S.C.
                  s 3583(k)).
  . 7. Rule llGXlXC) Plea.              This plea is made pursuant to       Rule'

11(c)(1)(C). The parties agree, based on the facts and circumstances of this

Case,   the sentencing factors in 18 U.S.C. $ 3553(a) and the Sentencing
Guidelines calculation contained herein, that a term of imprisonment of 105
                                                      J

months is appropriate. The parties also agree that a term of fi.fteen'years'
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supervision is appropriate. Both parties understand that by accepting the plea

agxeement, the Court a'grees to impose a sentence at the parties'recommended

term of imprisonment of 105 months. If the Court declines to accept this plea

agreement and the stipulation for the agreed.-upon sentence, either party may

withdraw from the agreement.

      B.         Special Assessment. The Guidelines require payment of             a

special assessment         in the amount of $100 for each felony count of which
                                                             .n

Defendant is convicted. (u.S.S.G. S 5E1.3). The $200 special assessment

becomes due and payable at sentencing.

      9. Restitution. Pursuant to 18 U.S.C. S 3663(aX3), the Defendant
agrees to pay restitution to any individual whose child pornography image or

video he possessed, distributed, received, trafficked,             or produced,   ?s

determined       in the course of the investigation or by NCMEC even if          not

specificalty identified      in Count One of Count Two of the Information.       The

parties agree that the amount of restitution owed. under this paragraph will be

determined using 18 U.S.C . S 225gto reflect the full amount of victim losses.

The Defendant understand.s that the restitution amount for individ.ual victims

covered under      S   2259(b)(2) shall be no less than $3,000 per individual.

      10. Forfeiture.            Defendant agrees to forfeit to the United States,

pursuant to 18 U.S.C.        S 1467

           '4.          any obscene material which was possessed with intention to
                        sell, sold, mailed., imported, transported, produced,
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                      distributed, or transferred in violation of Chapter 7I of Title
                      18, United States Code;

                b.    any property, real or personal, constituting or traceable to
                      gxoss profits or other proceeds obtained from such offense;
                      and

                c.    any property, real or personal, usdd. or intended to be used
                      to commit or to promote the commission of such offense.

        The d.efendant agrees that the following electronic d.evices werg seized

from h'irir in connection with this case, and agrees that any d.evices which were

used to commit the offenses charged         in   Counts 1 and 2 will be subject to

forfeiture: '

                (1)   Hitachi 1TB hard drive, serial number HZL2ZI{BC;

                (2)   Seagate 1TB hard drive, serial number Z1D1RSC9;

                (3)   Velocity. Computer Micro d.esktop conputer, serial numb.er
                      870666:

                (4)   Western Digital Easystore 1TB hard drive, serial number
                      WXCIA4TLNHKA; and

                (5)   Gate*ay Windows 7 Computer, Mod.el SX2B03UB20P, serial
                      number. 11801997696.
                                                                                  *

        However, Defendant reserves the right to oppose forfeiture of electronic

d.evices which were not used to commit the charged. offenses. The parties agree

to make reasonable efforts to reach a stipulation on which electronic devices,

if   any, may be returned. to the Defend.ant or his family prior to sentencing.

The United State, ,ur"rrr"s the right to seek the forfeiture of additional

property.
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      ' 11.      FOIA Request Waiver. Defendant waives all rights to obtain,

directly or through others, information about the investigation and prosecution
                            "Freed
of   this case und,er the            qm of Information Act and the Privacy Act of 797 4,

5    u.s.c.   s$ 552, 552A.

         L2. Partial Waiver of A. ppeal and Collateral Attack.                        The

Defendant understands that Title 18, United States Code, Section 3742affords
                                                      i



him the right to appeal the sentence imposed in this case. Acknowledging this

right,   and"   in exchange for the concessions mad,e. by the United States in this

PIea Aerqeyent, the Defendant hereby waives his               right to.appeal his sentence

unless    ih"   Corr"t imposes a sentence higher than 105 months. The government

waives its right to appeal the Defendant's sentence unless            it is lower than 105

months. In addition, the Defendant waives the right to collaterally attack his

sentence, except for a post-conviction claim of ineffective assistance of counsel.

The Defendant has discussed these rights with his attorney. The Defendant

und.erstand.s     the rights being waived., and. waives these rights knowingly,

intelligently, and voluntarily.

         13.     Spir Offender Reeistration. The Defendant understands that by

pleading guilty, the Defendant wiII likely be required to register as a sex

offend.er upon his release from prison as a condition of his supervised. release

pursuant                              to                     18                    U.S.C,

S 3583(d). The Defendant also understands                 that independent of supervised
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                                           :

release, he may be subject    to federal and state sex offender registration
rbquirements and that those requirements may apply throughout his life.

        74.   Comblete Agreement. This, along with any agreement signed

by the parties before entry of plea, is the entire agreement and understanding

between the Uhited States and the Defendant.



Date:   7- 15- Zt                              W. ANDERS FOLK
                                               Acting United States Attorney



                                               LIND      E. MIDD
                                               Specia


Dare:    aQr/z/

Date:      7(,r/-                                  REW GARVIS
                                               Counsel for Defendant




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